
Singleton, Judge:
This claim was filed before the Attorney General of West Virginia on December 21, 1966, and set on the hearing docket of this Court for November 2, 1967.
Upon the case being called for hearing there was no appearance for the claimant, Emmett Buchanan. The Assistant Attorney General and the Attorney for the State Road Commission tendered to the Court a letter from George H. Samuels, Director of the Legal Division of the State Road Commission of West Virginia dated October 10, 1967, advising that an investigation of the allegations contained in claimant’s petition filed herein had been found to be true and correct and the amount set forth as compensation for damages therein to be reasonable, and that the State Road Commission was willing to stipulate same.
On the basis of this information, there being no objection on the part of the Attorney General, it was the considered opinion of the Court that the facts set forth in the petition do present a claim within the jurisdiction of this Court, and the same are considered stipulated herein between claimant and respondent.
The Court further considered the facts set forth in the petition and the items of damage claimed by the claimant and the Court is of the opinion that said facts as set forth in said petition do constitute a valid claim against the State of West Virginia that in equity and good conscience should be paid; and the Court is of the opinion and it is our judgment that the claimant, Emmett Buchanan, should recover, and we do hereby award the said claimant the sum of $102.40.
